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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SEKIGUCHI CO., LTD.,

        Plaintiff,                                             Case No.: 1:18-cv-7420

   v.                                                          Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Maria Valdez
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

                NO.                                   DEFENDANT
                115                                      CarYoo
                388                                       Yakube
                225                                       Kaleele
                466                                    doublecloud
                546                                   rainie_yangyy
                568                                    TER MALL
                335                                      Taobing
                489                                  high quality2016
                503                                    kestore2018
                513                                     luofashion
                564                                   sunnysea2018
                528                                 new fashion 1992
                169                                      freebird
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         39                                 jiaoyang_889
         40                                 jiaoyang_988
        199                                 home_garden
        446                                 Beauty_inside
        571                                Try_Everything
        574                                 VR Shopping
        166                                 fashion_store
        397                           yonxiangfuzhuang2017
        144                 Do not allow time to stay on the road of life
        379                           Xiao Yang shoes store
        312                               Shopping&Sharing
        557                                 Simple_style
        313                                 shoujibuanfen
        175                                   ghostlady
        259                                    malifu
        221                                  jquuziiiman
        118                               chaoliuqianxianza
        416                                    zhulilil
        413                                 zhouguangnan
        354                                  uuwywiaq
        181                                gudechaoliupu
        197                                 hismehaoran
        210                                  iiuwiiziiaq
        229                                  kkuwioozv
        263                                Mayshowshow
        418                                zizhixiaoduantui
        409                                  zhekoudian
        336                                 taosehuayuan
        241                                 lingdangzhshi
        323                         SundaymechanismKeyring

                                      2
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        202                        HuaBaoxuanhandicraftshop
        143                                dingxu's store
         98                                   beauties
         90                                 BABYSEE
        277                                 New Lucky
        411                               zhongguodenju
        242                               lingfeicuikaiG
        356                               Vampire Store
        209                    I have been in the construction of life
        567                                Sunshine754
        384                       XMB mobile experience store
        580                                 WGUIEDN
         88                                Autumn2014
        311                                shijingyanshh
        172                                GangGangFa
        157                                 Eshopstreet
        405                                 zenghuiqin
        320                               SPRING-NAN
        419                                      ztl
        372                                   wowtara
        373                                  wpzc1213
        171                                   Funbase
        614                                   chen886
        331                           tailekejiyouxiangongsi
        364                               weiqishopping
        246                                  liucaiyun
        318                                  song1018
        104                                BlingPiercing
        361                                  wangsky
         13                                   13limei

                                      3
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            33                                   gocisco
            24                                chencom1355
            53                                   mwf001
           480                                   gethere
           482                                  goodzero
           504                           Kids' Clothing Center
           553                                 Shiningteam
           469                                  EagleDeal
           467                                  dreambuy
           477                               funshoppinghere
           581                                   Wimall
           475                                  fromoneto
           481                                globalbuying
            77                                   Alolife
           470                              Excellence Trading
           450                               Brown Limited
           124                               Cinderella castle
            76                                   Alifance
            75                                    Ajmal
           131                                 Connecting



DATED: December 30, 2018                      Respectfully submitted,

                                              /s/ Keith A. Vogt
                                              Keith A. Vogt (Bar No. 6207971)
                                              Keith Vogt, Ltd.
                                              1033 South Blvd., Suite 200
                                              Oak Park, Illinois 60302
                                              Telephone: 708-203-4787
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                                              ATTORNEY FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 30, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




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